Case 18-34112 Document 2 Filed in TXSB on 07/27/18 Page 1 of 3

Fili in this information to identify the case:

Dei)tor name Paradigm Teiecom il, L.LC

Uniied States Bankruptcy Cou¢t for the: SOUTHERN DiSTRICT OF TEXAS

 

Case number |:| Check if this is an
(if kHOWF\) amended filing

Ofticiai Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 i_argest Unsecured
Claims and Are Not insiders 12r15

A list of creditors holding the 20 largest unsecured claims must be fiied in a Chapter 11 or Chapter 9 case. include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Aiso, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured ciaims.

     

 

      

Totai Deduction Unsecured
cialm, if for value claim
partiaiiy of
secured collateral
or setoff
CV|N LLC - Vast $152,517.15
7447 N. Paim B|uffs,
Suiie 105

Fresno, CA 93711-5773

 

 

 

2 Tin Cup investments $150.000.(}0
10600 Bai|antrae Dr.
St. Louis, NlO 63131

 

3 Centurylink $97,396.97
1820 E Sl<y Hari)er
C§rc|e. S #150

Phoenix, AZ 85034

 

4 Gold Data Panarna Corp . 385,508,47
Ofc 218 international
Buslness PK

EDiF. 3845

Panama Pacifico,
PANA|W~\

5 Armstrong Onewire $79,008.75
PO Box 37749
Phiiadelphia, PA19101-
5649

 

 

 

 

 

 

 

 

 

 

 

Officiai Form 204 Chapter11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Linsecured C|aims page 1

 

 

 

 

 

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Debtor Paraciigm Teiecom |i, LLC Case number (if known)
Name

 

 

 

 

 

        

 

Deduction Unsecureci
claim, if for value claim
partially of
secured collateral
or setoff

6 G`i'l' Comunications inc. $78,598.44
7900 Tysons One P|ace.
Sfe 1450

lVicLean, VA 22102

 

 

 

 

7 Ty;)eZTe!ecorn, LLC $59,393.82
21 |Vialn St. #6
Ashbury Park, NJ 77073

 

8 APX Nei $44,332.51
2 School St., Ste. 2
Berwick, iVlE 03901

 

9 Arvig Enterprises, lnc. $37,738.61
PO Box 110
Perham, iVlN 56573

 

 

10 Dig|ta| Reaity Trusi DBA $35,812.71
'i“elx

PO BOX 419729
Boston, |VFA 02241-9729

 

11 Noanet $34.541.97
7195 Wagner iNay, Ste.
104

Gig Harbor, WA 98335

 

 

12 iVlarina DeJesus Perkins $34,000.00
7253 i~iunfingdon St.
Harrisburg, PA17111

 

13 Wow Whoiesale $28,698.33
1241 O.G. Skinner ij)t.
Wesfpoint, GA 31833-
1789

 

 

 

 

 

 

 

 

 

 

Official Form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured C|aims page 2

 

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Debtor Paradigm Telecom ll, LLC Case number (if known)
Name

 

 

 

   

     

Totai Deduction Unsecured
claim, if for value claim
partially of
secured coilatera|
or setoff

14 Greg Hagerman $28.000.00
1504 Broadway Ave.
Niattoon, lL 61938

 

 

 

 

15 Aipheous $27,395.56
Comrnunications LLC
F‘O Box 301628
Dalias, TX 75303-1628

 

16 Equiriixl inc $25.452-45
4252 So|utions Center
Chicago, ii_ 60677-4002

 

17 Aureon Commuications $25,495.62
LLC

7760 Otfics Piaza Dr. S.
West

Des Nioines, iA 50266

 

18 TDS Long Distance $24.120.25
Corporai§or:

PO BOX 1450
lVEinneapo|is, NiN 55485-
8702

 

19 Ligntower Fiber $23.703.5'?
Neiwork, i_i_C

PO BOX 27135

New York. NY 10087-
7135

 

 

20 Everstearn Solutions. $21,358.73
LLC

1228 Euclici Ave, Ste 250
Cleveland, OH 44115

 

 

 

 

 

 

 

 

 

 

 

Official Form 204 Chapter11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured C|aims page 3

